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                                         AFFIDAVIT

           I, David L. O’Brien, being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

      1.        I am a Special Agent with ATF and have been so employed since August

2001. I am currently assigned to ATF Philadelphia Group II, Arson and Explosives Task

Force. The Task Force’s primary responsibilities include investigating groups or

individuals who commit violations of federal arson and explosives laws.

      2.        During my tenure with the ATF, I have been the affiant for numerous

federal search and arrest warrants. I have personally conducted and participated in

dozens of investigations, which have resulted in the arrest and prosecution of

individuals charged with federal crimes.

      3.        I am a Law Enforcement officer as defined in 18 U.S.C. § 3051, and as

such, I am a law enforcement officer of the United States within the meaning of 18

U.S.C. § 2510(7), and am empowered by law to conduct investigations and to make

arrests for offenses enumerated in 18 U.S.C. § 2516.

      4.        The contents this affidavit are the result of my observations, the

observations of other law enforcement officers and witnesses, the observations and

opinions of officers and agents who are experts in the investigation of arson and

explosives, and my experience and background as an ATF agent. Because this affidavit is

being submitted for the purpose of obtaining authorization for an arrest warrant, I have

not included every fact known to me concerning this investigation. I have set forth only

the facts that I believe are necessary to establish probable cause to arrest DAVID

ELMAKAYES for violations of Title 18, United States Code, Sections 844(i)(maliciously

damaging property used in interstate commerce by means of an explosive), and

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922(g)(1), 924(e) (felon in possession of a firearm, armed career criminal).

                                     PROBABLE CAUSE

      5.     On June 3, 2020, at approximately 11:45 p.m., an explosion occurred

damaging an automated teller machine (ATM) located outside 217 E. Westmoreland

Street, Philadelphia, Pennsylvania. The ATM was heavily damaged.

      6.     An unknown witness driving a silver Dodge sedan westbound on

Westmoreland Street briefly stopped and observed the explosion and saw the person

who appeared to trigger the blast. The Dodge then continued westbound on

Westmoreland Street and turned south on A Street. Two uniformed private security

guards were working as private contractors providing security to a local business

establishment located at A Street and Allegheny Avenue. This is approximately one and

a half blocks from the ATM. The driver of the Dodge stopped and reported the incident

to the security guards and gave them a description of the person responsible for the

explosion. The driver of the Dodge then drove off. A short time later, the security

guards observed DAVID ELMAKAYES, who fit the description of the person responsible

for the ATM explosion, walking south on A Street, from the direction of the blast and

towards them.

      7.     ELMAKAYES walked to the guards and engaged them in conversation.

Eventually the guards asked if they could search ELMAKAYES’ backpack. ELMAKAYES

eventually agreed that they could do so, and told them that he had a firearm in the

backpack. The guards searched his person and his backpack. The guards found an

illegal explosive device (an M-Type device) in ELMAKAYES’ back pocket. In his

backpack they found a Beretta, 3020 Tomcat, .32 caliber pistol, bearing serial number

DAA377456, two more explosive devices, marijuana, and drug paraphernalia. The

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guards noticed that ELMAKAYES was carrying a cigarette lighter when he approached

them, and that the lighter was still warm when they took it from him. The guards noted

that ELMAKAYES did not have any cigarettes in his possession. The guards then called

the police. Philadelphia Police patrol officers responded and arrested ELMAKAYES.

Philadelphia Bomb Disposal Unit officers also responded to take possession of the

explosive devices and to examine the ATM. The responding Bomb Disposal Unit officers

recovered damaged red cardboard tubing from inside the damaged ATM.

       8.      On June 4, 2020, the Philadelphia Arson & Explosives Task Force

responded to further investigate the ATM explosion. Task force members photographed

the scene, examined the blast damage, and recovered surveillance videos from several

security cameras in the immediate vicinity that show the blast. I have reviewed the

videos.

       9.      On the video, at approximately 11:30 p.m. on June 3, 2020, a male is

shown in the immediate the area of the ATM. The male is dressed in black sneakers,

black pants, a gray hooded sweatshirt with a circular logo and lettering on the chest, a

black hat, and has a black backpack on his back. The male is carrying a white bag with

red lettering/design. He has facial hair. The male goes to the ATM and looks and feels

around it. The male eventually walks off to the west.

       10.     At approximately 11:40 p.m., a person who appears to be the same male

who was at the ATM 10 minutes earlier walks to the ATM from the west. The person is

dressed in black sneakers, black pants, a gray hooded sweatshirt turned inside out, and

has a black backpack on his back. The person is carrying a white bag with red

lettering/design. The person’s hood is up and he is wearing a mask over his nose and

mouth.

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       11.       At approximately 11:42 p.m., the person places what appears to be an

illegal explosive device in the ATM, lights it using a cigarette lighter, and quickly moves

away. There is a large explosion inside the ATM. The person returns to the ATM. It

does not appear the person takes money from the ATM. The silver Dodge sedan

mentioned above is seen in the surveillance videos as well.

       12.       The person then walks westbound on Westmoreland Street. The person

can be seen crossing Westmoreland walking southbound on the east side of A Street.

The person then pulls his mask down, and it can be seen that the person is a male with

facial hair.

       13.       Other surveillance video shows the same person continuing to walk south

on A Street and then approaching and talking with the private security guards.

       14.       On June 15, 2020, I displayed a screen capture of the male who was seen

on video first approaching the ATM at approximately 11:30 p.m. to T.P., one of the two

security guards. T.P. identified the individual in the screen capture as the person he and

his partner encountered, that is, the defendant ELMAKAYES.

       15.       Criminal history checks reveal that ELMAKAYES has previously been

convicted three times of felony drug crimes. In one of those drug cases he was

sentenced to serve a term of eleven months and 15 days to a maximum of 1 year and

eleven months in prison, followed by 8 years of probation. He has also been convicted

once of felony aggravated assault. In that case he was sentenced to serve eleven months

and 15 days to a maximum of 1 year and eleven months in prison. He is presently on

probation. ELMAKAYES thus clearly knows that he has been convicted of crimes that

carry a penalty in excess of one year in prison. He is prohibited by federal law from

possessing firearms.

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          16.     The ATM bombed by ELMAKAYES is owned by Aztech Communications,

a business based in New Jersey. The ATM is used in and affects interstate commerce.

          17.     The three explosive devices (M-Type devices) that ELMAKAYES possessed

were examined by an ATF Bomb Technician. The technician found that the devices

were each constructed of red cardboard tubing approximately six inches (6”) long by one

inch (1”) in diameter, sealed at both ends with red plastic end plugs, and had a piece of

multi-colored hobby fuse approximately one and three quarters inches (1 ¾”) length

protruding from the middle. The red tubing is consistent with the damaged red

cardboard tubing recovered from the ATM by investigators. The technician opened one

of the devices and examined it further. The device contained approximately 48 grams of

a fine grey powder. The technician performed a flame test on the powder. The powder

reacted in an energetic manner. The devices are illegal M-Type explosive devices within

the meaning of federal law.

          18.     M-Type devices range in terminology from an M-80 to an M-1000. M-

1000’s such as those recovered from ELMAKAYES are among the most dangerous of

such devices, and in street vernacular are often called “quarter” or “half sticks of

dynamite” due to their size. These devices generally consist of a heavy cardboard tube,

sealed at both ends, filled with an explosive and have a hobby fuse wick inserted. The

devices function by applying an external heat source, such as a match or light to the

wick. The most common explosive found inside the devices is flash powder, a

perchlorate chemical explosive compound. These devices carry enough explosives to

cause serious bodily injury and in certain cases death. They are unstable, and

dangerous. The devices are not legally manufactured, used, or possessed in the United

States.

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       19.     The firearm recovered from ELMAKAYES, a Beretta, Model 3020 Tomcat,

.32 caliber pistol, serial number DAA377456, was manufactured outside of the

Commonwealth of Pennsylvania and by virtue of its presence in Pennsylvania when

seized from ELMAKAYES, the firearm traveled in interstate commerce. Also, it is a

“firearm” as defined in 18 U.S.C. § 921(a)(3).

       20.     Based upon the aforementioned facts, I submit that there is probable

cause to believe that DAVID ELMAKAYES violated Title 18 United States Code, Sections

844(i) and 922(g)(1), 924(e).



                                          David L. O’Brien
                                          DAVID L. O’BRIEN
                                          Special Agent, ATF




Sworn and subscribed to before me
this 17 day of June, 2020

s/ Marilyn Heffley_______________________                      _
HONORABLE MARILYN HEFFLEY
United States Magistrate Judge
Eastern District of Pennsylvania




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